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      UNITED STATES DEPARTMENT OF JUSTICE
      OFFICE OF THE UNITED STATES TRUSTEE
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      UNITED STATES TRUSTEE, REGIONS 3 & 9
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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY

                                                  :
       In Re:                                     : Chapter 11
                                                  :
       LTL Management, LLC,                       : Case No. 23-12825 (MBK)
                                                  :
       Debtor.                                    : The Honorable Michael B. Kaplan, Chief Judge
                                                  :

       NOTICE OF APPOINTMENT OF OFFICIAL COMMITTEE OF TALC CLAIMANTS

             Pursuant to Section 1102(a)(1) of the Bankruptcy Code, the United States Trustee hereby
      appoints effective April 14, 2023, the below listed creditors to the Official Committee of Talc
      Claimants in the above captioned case.


Tonya Whetsel as estate                 Blue Cross Blue Shield of            Kristie Doyle as estate
representative of Brandon Whetsel       Massachusetts                        representative of Dan Doyle
Counsel:                                Counsel:                             Counsel:
Erik Karst, Esq.                        Elizabeth Carter, Esq.               Steven Kazan, Esq.
Karst Von Oiste LLP                                                          Kazan, McClain, Satterley &
                                        Hill Carter Franco Cole & Black,
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Spring, TX 77389                        PC
                                        425 Perry Street                     55 Harrison St., Ste. 400
Tel: (281) 970-9988                                                          Oakland, CA 94607
Email: epk@karstvonoiste.com            Montgomery, AL 36104
                                                                             Tel: (510) 302-1000
                                        Tel: (334) 386-4337                  Email: SKazan@kazanlaw.com
                                        Email: ecarter@hillhillcarter.com
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     LTL Management, LLC
     Appointment of Official Committee of Talc Claimants

April Fair                            William Henry as estate             Alishia Landrum
Counsel:                              representative of Debra Henry       Counsel:
Mark Robinson, Jr., Esq.              Counsel:                             Leigh O'Dell, Esq.
Robinson Calcagnie, Inc.              Christopher Tisi, Esq.               Beasley Allen Law Firm
19 Corporate Plaza Drive              Levin Papantonio Rafferty            PO Box 4160
Newport Beach, CA 92660               316 S Baylen Street, Suite 600       Montgomery, AL 36103
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Email: mrobinson@robinsonfirm.com     Tel: (850) 435-7000                  Email:
                                      Email: ctisi@levinlaw.com            leigh.odell@beasleyallen.com


Rebecca Love                          Patricia Cook                        Randy Derouen
Counsel:                              Counsel:                             Counsel:
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Ashcraft & Gerel, LLP                 Weitz & Luxenberg, P.C.              Levy Konigsberg LLP
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Brandi Carl                           Sue Sommer-Kresse
Counsel:                              Counsel:
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Philadelphia, PA 19103                Tel: (856) 382-4670
Tel: (215) 985-9177                   Email: Dlapinski@Motleyrice.Com
Email: rgolomb@golomblegal.com


                                                        ANDREW R. VARA
                                                        UNITED STATES TRUSTEE
                                                        Regions 3 & 9

                                                        By: /s/ Martha R. Hildebrandt
                                                                Martha R. Hildebrandt
                                                                Assistant United States Trustee

                                                               Jeffrey M. Sponder
                                                               Trial Attorney

                                                               Lauren Bielskie
                                                               Trial Attorney
     Date: April 14, 2023
